Case 1:17-cv-02003-GBD-SN Document 323

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

we x
IN RE: :
TERRORIST ATTACKS ON
SEPTEMBER 11, 2001
eee eee x

This document relates to:
All actions

GEORGE B. DANIELS, United States District Judge:

Filed 05/30/24 Page 1 of 1

ORDER
03 MDL 1570 (GBD) (SN)

Oral argument on Defendant Dallah Aveo Trans Arabia Company’s motion to dismiss

(ECF No. 9362!) and Defendant Kingdom of Saudi Arabia’s motion to dismiss (ECF No. 9368) is

scheduled for July 10, 2024 at 9:45 a.m.

Dated: May 30, 2024
New York, New York

SO ORDERED.

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GEMRGEIB. DANIELS
United States District Judge

' All ECF citations included herein refer to documents filed on the 9/11 multidistrict litigation docket.
See In re Terrorist Attacks on Sept. 11, 2001, No. 03-md-1570 (GBD) (SN).
